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Ao 442 (Rev. 11/11) Arresrwarram ?Uf;
UNITED STATES DISTRICT CoURT ;;-;!§
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for the :§ §§
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District of Columbia "»L;i §§
i'-‘.’l 1
United States of America r::‘_;_`
v. ) trail
RASHAUN PARKS a.k.a. "lVY" ) game 1 'diST>-mj- 00116
‘ ~ Sslgne 0 |\/lagistrate Jud e D ~
§ ASSign Dare: 04/26/2019 g eborah A' R°b'"$°“
DeSCriPfi<:»n: Comp|aint w/Arrest
) ' §§ §
) » .
Defendant
MAY 02 2019
ARREST WARRANT
Clerk U. S District and
To: Any authorized law enforcement officer Bankrupfcy CCU"S

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
("Um€ Ofpe"SO" 10 be ar"¢?Sf€d) RASHAUN PARKS a.k.a. "lVY"
who is accused of an offense or violation based on the following document filed with the court:

|'_'I Indictment ij Superseding Indictment ij Information IJ Superseding Information d Complaint

ij Probation Violation Petition |:l Supervised Release Violation Petition ij Violation Notice ij Order of the Court

This offense is briefly described as follows:

interstate Transportation in Aid of Racketeering, in violation of 18 U. S. C. Sections 1952(a)(3) and 2
Transportation for lliega| Sexua| Activity, in violation of 18 U. S C. Sections 2421

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lssuing officer ’s s1gnature

’)

Date: 04/26/2019

 

City and state: Washington, D.C. Deborah A. Robinson, United States |\/|agistrate Judge

Printed name and title

 

 

Return
This warrant was received on (date) ZZZdZ/ f ,and the person was arrested on (date) $" / ‘I"/
at (city and state) /Z'fo`o/g /f. up '

 

fcer s signature

Date: 512[§ az.-/AWZ j

Q¢ %m., §.//,@._

Printed name and title

 

 

 

